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001-090-00 60 8,1»
IN THE UNlTED STATES DISTRICT CoURT 0540
FoR THE WESTERN DISTRICT oF TENNESSEE 92 00
EASTERN DIVISION ,?_ ; 45 6 .
CHERYL J. HOWELL ' ) “ /(, !f'(‘;qf, ' 44
Plaintiff ) /Z? j.§;¢,`;$yjq,”@i;@
v. ) NO: 1-04-1324 T/An "'* ,-z' '/`
)
ALLEN STRICKLAND, JANE DoE, )
ToMMY RILEY AND MCNAIRY CoUNTY )
Defendant(s) )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference Set by written notice, the following dates are established as the
final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)):
September 13, 2005

JOINING PARTIES:
For Plaintiff: October 31, 2005
For Defendant: November ]5, 2005
AMENDING PLEADINGS
For Plaintiff: October 31, 2005
F or Defendant: Novernber 15, 2005

COMPLETING ALL DISCOVERY: March 17, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

FOR ADMISSIONS: March 17, 2006
(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff’s Experts: January 16, 2006
(ii) Defendant’s Expertsz February 15, 2006
(iii) Supplementation under Rule 26(e)(2): March l, 2006

(C) DEPosITloNS oF EXPERTS= March 17, 2006
FILING DISPOSITIVE MoTIoNS: April 10, 2006
FINAL LIST oF WTINESSES ANI) EXHIBITS (Rule 26(3)(3))=

(a) for Plaintiff: May 26, 2006
(b for Defendant: June 9, 2006

Thls document entered ont e docket sheet in com liance
with nule 50 andrews (a) FHCP on §§ f §© l l §§ 4

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Parties shall have § days after service of final lists of witnesses and exhibits to tile objections
under Rule 26 (a)(3).

The trial of this matter is expected to last two to three days and is SET for JURY TRIAL on
MONDAY, JULY 10, 2006 at 9:30 A.M. A joint pre-trial order is due on FRIDAY, June 23, 2006 In the
event the parties are unable to agree on a joint pre-trial order, the parties must notify the court at least ten
days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery must be
submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30
days of the default or service of the response, answer, or objection which is the subject of the motion if
the default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)( 1 )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a
Certiflcate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file
an additional reply, however, without leave of the court If a party believes that a reply is necessary, it
shall file a motion for leave to tile a reply accompanied by a memorandum setting forth the reasons for
which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally
provide the parties with a definite trial date that Will not be continued unless a continuance is agreed to by
all parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on
or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good
cause shown, the scheduling dates set by this Order will not be modified or extended.

IT ls so 0RDERED. ,H,_*_ /
<g. /ém'!/‘t_s v/h»&é/A»J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QM ¢>?cil’. Aoa.t/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case l:04-CV-01324 was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

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Honorable .l ames Todd
US DISTRICT COURT

